Case 1:01-cv-12257-PBS Document 1585

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COUNSEL FOR PLAINTIFF AND THE CLASS

IN THE UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

INTERNATIONAL UNION OF OPERATING ENGINEERS,
LOCAL No. 68 WELFARE FUND,

Plaintiff,
v.

AstraZeneca PLC; AstraZeneca Pharmaceuticals LP;
AstraZeneca LP; Zeneca, Inc.; TAP Pharmaceutical
Products, Inc.; Abbott Laboratories; Takeda Chemical
Industries, Ltd.; Bayer AG; Bayer Corporation, Miles
Laboratories, inc.; Cutter Laboratories, Inc.;
GlaxoSmithKline, P.L.C.; SmithKline Beecham

Corporation; Glaxo Wellcome, Inc.; Pharmacia Corporation; }

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| CA. NO. 03-3286 (FED

: NOTICE OF MOTION FOR

: REMAND, AND FOR

: EXPEDITED HEARING, OR,
: IN THE ALTERNATIVE,

? FOR SHOW CAUSE

: HEARING ON TEMPORARY
: RESTRAINING ORDER

Pharmacia & Upjohn, Inc.; Monsanto Company; G.D, Searle :
Company; Sanofi-Synthelabo Inc.; Johnson & Johnson; Alza i

Corporation; Centocor, Inc.; Ortho Biotech, Inc.; Alpha
Therapeutic Corporation; Hoffman La-Roche Inc.; Amgen,
Inc.; Immunex Corporation; Aventis Pharmaceuticals, Inc.;
Aventis Behring L.L.C.; Hoechst Marion Roussel, Inc.;
Centeon, L.L.C.; Armour Pharmaceuticals, Baxter
International Inc.; Baxter Healthcare Corporation; Immuno-
U.S., Inc.; Boehringer Ingelheim Corporation; Ben Venue
Laboratories, Inc.; Bedford Laboratories; Roxane
Laboratories, Inc.; Bristol-Myers Squibb Company;
Oncology Therapeutics Network Corporation; Apothecon,

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Inc.; Dey, Inc.; Fujisawa Pharmaceutical Co., Ltd.; Fujisawa

Healthcare, Inc.; Fujisawa USA, Inc.; Novartis International
AG; Novartis Pharmaceutical Corporation; Sandoz
Pharmaceutical Corporation; Schering-Plough Corporation;
Warrick Pharmaceuticals Corporation; Sicor, Inc.; Gensia

Sicor Pharmaceuticals, Inc.,; Wyeth; Wyeth Pharmaceuticals;

Saad Antoun, M.D.; Stanley C. Hopkins, M.D.; Robert A.
Berkman, M.D.; Does 1-50; ABC Corporations 1-50; and
XYZ Partnerships; and Associations 1-50,

Defendants.

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NOTICE OF MOTION FOR REMAND,
AND FOR EXPEDITED HEARING, OR, IN THE ALTERNATIVE,
FOR SHOW CAUSE HEARING ON TEMPORARY RESTRAINING ORDER

Pursuant to 28 U.S.C. § 1447(c), plaintiff, Internationa! Union of Operating Engineers,
Local No. 68 Welfare Fund, the named class representative plaintiff in the above-captioned
litigation, hereby moves this Court for an Order remanding this case back to the Superior Court of
Monmouth County, New Jersey for the following reasons:
1. All defendants have not consented to this removal;
2. Plaintiff's exclusively state law claims are not preempted under either ERISA or the
Medicare Act; and

3. Plaintiff specifically has disavowed any claims under ERISA or the Medicare Act in
the Complaint and specifically has excluded any claim under federal law, including
ERISA or Medicare.

In the event this Court does not remand this case, sua sponte, plaintiff mc ves this Court to
exercise its discretion and order an expedited hearing on this matter, in lieu of briefing requirements,
so that the Order To Show Cause with Temporary Restraints Against AstraZeneca and Saad Antoun,
M.D., heretofore scheduled for July 10, 2003 in the Supertor Court of Monmouth County, New
Jersey, may go forward. In the alternative, if this Court elects not to order remand expeditiously,
plaintiff respectfully requests that this Court schedule a hearing on the Order To Show Cause in
order to determine plaintiff's entitlement to temporary restraint against defendant, AstraZeneca, L.P.

Further, pursuant to Rule 11 of the Federal Rules of Civil Procedure, plaintiff moves this
Court to sanction defendant, AstraZeneca, L.P., for frivolous removal of state court proceedings

pending against it.

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WHEREFORE, plaintiff respectfully requests that Plaintiff's Motion for Remand, and for
Expedited Hearing, be granted, or in the alternative, that Plaintiff's Motion for Show Cause Hearing

on Temporary Restraining Order be granted.

Respectfully submitted,

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